Case 2:05-cr-20114-.]TF Document 8 Filed 06/15/05 Page 1 of 2 Page|D 10

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lN THE UNITED STATES DISTRICT COURT ' ‘ * """3'
FOR THE WESTERN DISTRlCT OF TENNESSEE §§ urging g 5 PH 3_ b 1
WESTERN DIVISION “ ' » -

  

- '§5 W.`o ss ran manage
UNlTED STATES OF AMERICA .\

MORDICAL OWENS 05cr20114-Ma
a/k/a Monica Owens, Mordica Owens, and
Shauntil Farrow

 

ORDER ON ARRAIGNMENT

This cause came to be heard on §§ 5 m g 4 %; Q¢QQ§ the United States Attorney
for this district appeared on behalf of the go mment, and e defendant appeared in person and With
counsel:

§/ 5a '

NAME , V ,(;%M/ who is Retained/Appointed.

V ll' '
______,./

 

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

%`e defendant, Who is not in Custod , ma stand on his resent bond.
_ Y Y P

The defendant (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. _________ ;Q_W\°

UNITED STATES MAGISTRATE ]UDGE

CHARGEs _ 18:1029(3)(2); PRoDUCEs/ TRAFFICS IN
coUNrERFErT DEVICE

Attorney assigned to Case: C. McMullen

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-201 14 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

